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                                                         April 24, 2025

     VIA ECF

     Honorable Renée Marie Bumb                                        Honorable Thomas I. Vanaskie (Ret.)
     United States District Court                                      Special Master
     Mitchell H. Cohen Building and                                    Stevens & Lee
     U.S. Courthouse                                                   1500 Market St., East Tower,
     Courtroom 3D                                                       Suite 1800
     4th and Cooper Streets                                            Philadelphia, Pennsylvania 19103
     Camden, New Jersey 0810

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875 (D.N.J.)

     Dear Chief Judge Bumb and Judge Vanaskie:

                Please accept this letter on behalf of the Plaintiffs in advance of the April 28,

     2025 case management conference.

           1. ZHP Certificates of Analysis and Material Safety Data Sheets.

                Plaintiffs have reviewed the documents produced by ZHP and intend to serve

     a 30(b)(6) notice for a corporate representative to provide testimony that can be

     presented at trial and relied on by experts. This evidence establishes that ZHP was
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  provided direct notice from a chemical supplier that the solvent DMF used only in

  the zinc chloride manufacturing process developed by ZHP to reduce the cost and

  increase the yield of its valsartan API contained Dimethylamine (“DMA”). During

  the manufacturing process it was the DMA that reacted with the nitrous acid, already

  known to be a part of the process, to form NDMA.

        As the Court is well aware, the COAs and MSDSs and the related documents

  were required to be produced by ZHP from the outset but were inexplicably held

  back and not produced by ZHP until recently.         Plaintiffs have been severely

  prejudiced in conducting all fact discovery, expert discovery, expert briefing, and

  dispositive and trial related motion practice, and preparation for two trials without

  these documents. It is a certainty that the documents would have been used and

  referenced throughout.

        However, Plaintiffs are not asking that the Court order that discovery and

  expert work to be repeated. Instead, Plaintiffs request leave to file a motion for

  sanctions for ZHP’s failure to produce these fundamental documents, especially

  where the ESI Protocol explicitly addresses the production of hard copy documents.

  Plaintiffs expended significant amounts of time and funds conducting every phase

  of this case from discovery through two rounds of trial preparation without the

  ability to utilize these documents.     Reimbursement of some or all of those
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  expenditures, including for attorney time and the associated costs such as for

  depositions, as well as potentially other relief will be sought on this motion. In this

  connection, the significance of the violation here is magnified by the fact that ZHP

  has already been sanctioned for other violations of its obligations during the course

  of the litigation.

     2. DFS Supplements for Wave 2 Cases.

         The Parties have agreed that ZHP and Teva will produce amended DFSs for

  each of the Wave 2 cases by May 2, 2025. The amended DFS will contain testing

  levels in the form that was done in the Roberts case.

     3. General Causation Experts for TPP Economic Loss Trial.

         Plaintiffs do not believe that any further expert motion practice regarding the

  general causation experts is necessary or would be an efficient use of the Parties’

  and the Court’s resources. Regardless of whether the Court determines to proceed

  with the previously scheduled TPP trial or pivot to a consumer class trial, the general

  causation expert opinions outlined in the Court’s Opinion have been fully vetted

  already.

         To set the context, the Court described the applicable benefit of the bargain

  measure of damages as: “the difference in value between what was bargained for

  and what was received.” (Opinion at 9). The Court provided an overview of the
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  evidence that will be available to prove value, pointing out that, “the danger caused

  by the contamination – not just the contamination – may result in the drug being

  worthless,” and “determining the danger requires evidence of risk and causation.”

  (Id. at 10). The fundamental defect theory described in the Court’s Opinion presents

  a fact question, as the Court found that the drug is not automatically valueless due

  to contamination or adulteration – the jury decides those questions. (Id. at 18-19).

  Plaintiffs are prepared to provide evidence from their existing experts – and fact

  testimony – to establish the key elements of the case, including the “bargain” that

  was paid for, the regulatory context, the criteria to satisfy the definition of

  adulteration, the requirements for a drug to be sold as a generic/therapeutic

  equivalent of a brand drug, and most important the risk presented by the nitrosamine

  contamination.

        The Court clearly ruled that “the risk of cancer is what this whole case is

  about,” and that general causation evidence is necessary to establish fundamental

  defect based on the risk presented: “[E]vidence of general causation in a TPP trial

  cannot be used to establish that any particular individual actually got cancer, it is

  directly relevant to the risk presented by the allegedly contaminated VCDs.”

  (Id. at 20 n.14, 46 (emphasis added)). The Court structured the proofs: Plaintiffs can

  show “the nature and extent of the risks associated with nitrosamine exposure at the
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  levels found in VCDs. ….Defendants [can] counter with evidence that those risks

  are minimal or outweighed by the continued therapeutic value of the VCDs.” (Id. at

  20). The jury will weigh the evidence to determine the value of the VCDs received

  – and whether or to what extent they got the benefit of the bargain. “A jury may

  very well find that a full refund is appropriate, reasoning perhaps that the risk of

  cancer causation was so high that it nullified any residual therapeutic value or that

  even a small risk was unacceptable. On the other hand, the jury may find that any

  increased risk of cancer was so negligible, attenuated, or insufficiently established

  through evidence that damages fall far short of a full refund.” (Id. at 21). More

  simply put, “Plaintiffs shall have an opportunity to present evidence that the

  nitrosamine exposure in the VCDs may cause cancer,” and “Defendants can, of

  course, rebut that evidence.” (Id. at 48).

        The general causation experts have already addressed the question of whether

  the NDMA and NDEA in the contaminated blood pressure pills was capable of

  causing or contributing to causing cancer in patients ingesting those pills. In other

  words, the risk posed. The Court considered the Parties’ Daubert challenges and

  conducted Daubert hearings on March 2, 2022. These experts were listed as

  potential witnesses for the two TPP trials, in case the Court ruled that general
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  causation evidence was admissible. Their potential involvement in the trial is

  nothing new.

        Against this backdrop, Defendants take the position that the Court’s Opinion

  should trigger a new round of Daubert hearings that will inevitably distract and drain

  resources and efficiency from the Parties’ already concentrated efforts on the

  preparation of numerous cases for trial, and lead to even more delay. The Parties

  met and conferred on April 21, 2025, and Plaintiffs attempted to understand the

  Defendants’ position, asking them to explain what issues would need to be addressed

  at another round of Daubert hearings. Defendants could not do so, simply stating

  over and over that in light of the Court’s decision the “fit” of the general causation

  opinions is questionable. Defendants explained that the general causation opinions

  were directed to whether the contamination posed a risk of cancer, and the question

  for the TPP trial is whether the risk of cancer impacts the value. However, as quoted

  above, the Opinion states that the risk of cancer is fundamental to the jury’s

  determination of value. There is no extra general causation step needed for the jury

  to make a value finding. Thus, there is no reason to reopen the general causation

  Daubert process.

        Plaintiffs queried defense counsel as to how they see this playing out, and the

  defense was clear that it sees more briefs and motion practice in an effort to prove
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  that Plaintiffs do not have the necessary experts to “fit” the trial now structured by

  the Court in the Opinion. Plaintiffs disagree, and note that this argument was made

  before. In fact, the Court denied Defendants leave to move once again for summary

  judgment “in light of this Court’s decision to require general causation evidence in

  the TPP Trial.” (Id. at 48). However, if the Court believes that further expert

  testimony is needed to connect the general causation evidence to the valuation as a

  result of the Opinion, Plaintiffs request leave to retain an additional expert or experts

  to address such a gap. Again, this is not how Plaintiffs read the Court’s Opinion,

  which is clear in delineating the heart of the jury’s value judgment – risk vs. benefit

  – but want to be sure that they can present the necessary experts if the Court does

  agree with Defendants.

     4. Consumer Fraud and Fraud Claims.

        Plaintiffs do not believe that the Court’s Opinion impacts the available

  damages in the case, including for the consumer fraud and fraud claims. First, as the

  Court recognized, the jury may find the TPP Trial Defendants’ VCDs to have been

  so fundamentally defective to have been worthless and award up to full value

  damages for the warranty, fraud, and consumer fraud claims using Dr. Conti’s

  calculations. (Opinion at 20-21; see also 9/10/24 CMC Tr., at 121 (counsel for both

  parties agreeing that the determination of value – or lack thereof – is for the jury).
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        In contrast to warranty, the consumer fraud and fraud claims are conduct

  based, involving affirmative misrepresentations and intentional knowing

  misrepresentations. The Court recognized the difference at footnote 20 of the

  Opinion, “Whether Defendants knowingly or fraudulently sold the VCDs as

  contaminated or otherwise non-cGMP compliant as alleged in Plaintiffs’ other

  claims is a different issue not relevant to Conti’s testimony as to the breach of

  express warranty claim and is, in any event, a jury question.” The same point is

  made at pages 39 and 40 of the Opinion, recognizing that a culpable mental state is

  not required for a breach of warranty claim.        State of mind and affirmative

  misrepresentations thus distinguish the consumer fraud and fraud claims. In fact,

  the Court indicated that if Plaintiffs can show a culpable state of mind, that can

  support a finding that the valsartan was illegally sold. (Opinion at 39).

        And the jury may award full value damages for the fraud-based claims

  regardless of whether they presented a fundamental defect under the benefit of the

  bargain rubric. In the event the jury finds that Defendants committed actionable

  inducement fraud or violated consumer fraud statutes (i.e., sold the contaminated

  VCDs based on actionable misrepresentations), a full reimbursement of the purchase

  amount is the appropriate remedy. (See Dkt. Nos. 2844, 2869). Courts have

  recognized that full reimbursement is appropriate where the defendant’s
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  misrepresentations “taint” the purchasing decision of the plaintiff. See, e.g., FTC v.

  Figgie Int'l, Inc., 994 F.2d 595, 606 (9th Cir. 1993) (“The fraud in the selling ... is

  what entitles consumers ... to full refunds” and explaining that “[t]o understand why

  [a full refund is appropriate even when the product maintains a modicum of value],

  we return to the hypothetical of the dishonest rhinestone merchant. Customers who

  purchased rhinestones sold as diamonds should have the opportunity to get all of

  their money back. The seller’s misrepresentations tainted the customer’s purchasing

  decisions.”); F.T.C. v. BlueHippo Funding, LLC, 762 F.3d 238, 244 (2d Cir. 2014)

  (holding that “when an injury by misrepresentation or omission precedes a purchase,

  the full amount paid by the injured consumer must serve as the baseline for

  calculating damages because the seller's misrepresentations tainted the customer's

  purchasing decisions” (internal citations and quotations omitted)); McGregor v.

  Chierico, 206 F.3d 1378, 1388-89 (11th Cir. 2000) (awarding full purchase price

  damages and stating that “[w]hile it may be true that the defrauded businesses

  received a useful product, and though less likely, they may have even received the

  product at a competitive price, the central issue here is whether the seller's

  misrepresentations tainted the customer's purchasing decisions”).

        Plaintiffs acknowledge that this line of cases stems primarily from Federal

  Trade Commission Act case law. However, as this Court itself has recognized,
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  nearly all of the consumer protection statutes at issue for this TPP Trial contain

  statutory directives to follow and give due weight to the FTC Act and the

  interpretations given it by the federal courts in enforcing their own state consumer

  protection laws. (See Dkt. No. 2694, at 44 (Judge Kugler’s summary judgment

  opinion recognizing that nearly all of the consumer protection states at issue for this

  trial follow the FTC Act, and Plaintiffs note that Pennsylvania actually does contain

  and instruction to follow the FTC Act as well)).

        Nevertheless, the principle that a fraudulently induced purchase is void ab

  initio, and subject to equitable rescission, is grounded in both common law and

  common sense. All of the common law fraud jurisdictions recognize equitable

  rescission as an available remedy where rescission at law is not possible (e.g., for

  fungible products consumed long before the plaintiff was aware of the cause of

  action). And further, in cases of inducement fraud, it is equally clear that a defendant

  should not be permitted to retain any benefit from the fraudulent conduct. See, e.g.,

  City of Fort Collins v. Open Int’l, LLC, No. 1:21cv2063, 2024 WL 1239934, at *6-

  8 (D. Colo. March 21, 2024) (compiling authorities that equity will not permit a

  defendant to retain a benefit of its own fraud and finding that the defendant was not

  entitled to claim offset for services it actually provided based on fraudulently

  induced transaction). In short, allowing these defendants to claim some residual
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  value for selling contaminated prescription drugs sold under false pretenses provides

  a windfall to the wrongdoer. This Court recognized the distinction both in its

  Opinion and at the September 9, 2024 CMC:

        But I think that it matters whether or not there was fraud involved. It
        just seems to me that if the defendants did not know that these were
        contaminated at the time, for the plaintiffs to be able to prevail on, well,
        we should be able to go all the way back and say they were worthless
        when no one knew they were worthless.

        Now, if there was fraud involved, then you're into a different -- you're
        into fraud territory.

  (9/10/24 CMC Tr., at 25.)

        In conclusion, if the jury finds that the products were fundamentally defective,

  the jury may still award up to full damages on the express warranty, fraud, and

  consumer fraud claims using Dr. Conti’s testimony and calculations regarding the

  computation of damages. In addition, if the jury finds actionable fraud and/or

  violations of consumer protection statues and finds that the unlawful

  misrepresentations tainted the TPPs purchasing decisions, the jury may likewise

  award up to full reimbursement damages.
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     5. Orders on Motions in Limine.

        On April 17, 2025, Plaintiffs sent Defendants slightly revised proposed Orders

  on the pre-trial motions, accounting for the Court’s Opinion in particular with regard

  to general causation.

        On the evening of April 23, 2025, Defendants served their responses to what

  Plaintiffs had sent, and also served orders on defense motions. Plaintiffs have been

  able to confirm that some of the language is acceptable, and the Parties have reached

  agreement on all the language for ZHP’s motions in limine (Ex. 1 hereto) and

  Torrent’s motions in limine (Ex. 2 hereto).

        The Parties have not reached full agreement with regard to the following

  Orders:

     • Plaintiffs’ motions in limine (Ex. 3 hereto)

            o MIL 1: “Defendants cannot assert that it is not appropriate to perform
              a retrospective analysis of their conduct or the consequences, including
              for example the resulting adulteration of the contaminated API and
              VCDs.”
            o MIL 2: “Defendants cannot defend their conduct by pointing to lack
              of knowledge or action by the FDA prior to ZHP’s disclosure of the
              contamination in June 2018, or blame or point the finger at the FDA
              in any way as a defense or excuse for their conduct.”
            o MIL 7: “ZHP Defendants cannot disclose or rely on hearsay discussions
              with Jinsheng Lin, Ph.D, or other sources, to assert translation or
              interpretation of the July 27, 2017 email that differs from 30(b)(6)
              testimony of Min Li, or ZHP’s translation.”
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          o MIL 10: “Defendants cannot reference or assert the Valisure Citizen
            Petition, in any way, including but not limited to with regard to Dr.
            Najafi, nor can they use the Valisure Citizen Petition to assert that
            brand diovan contained NDMA or NDEA.”
          o MIL 16: “Defendants cannot assert the cost of replacement drugs or
            therapies.”
          o MIL 18: “Defendants cannot reference, assert, or rely on opinions of
            defense experts that rely on the precluded opinions of other defense
            experts. For example, Dr. Afnan’s opinions that rely on Dr. Xue’s
            precluded opinions.”
          o MIL 20: “Defendants cannot argue they are good companies, the
            “societal benefits” of their VCDs and other products, or the cost of drug
            research and development.”
          o MIL 32: “Teva and Torrent cannot argue that they were not responsible
            for the quality of the API incorporated into their finished dose VCDs.”
          o MIL 37: “Defendants cannot suggest that there should be set offs for
            unquantified, speculative subsidies and reimbursements.”
          o MIL 38: “Defendants cannot reference the dollar amounts for which
            they sold the API and VCDs, and the amounts of the reimbursements
            requested and/or agreed to with regard to downstream customers.”
          o MIL 42: “Defense counsel should be barred from suggesting that they
            are one in the same as Defendants by using the terms “we,” “us,”
            and/or “our” when referring to Defendants. Such statements are
            irrelevant, inaccurate, and prejudicial.”

     • Teva’s motions in limine

          o Defendants’ most recent version of this motion is significantly different
            from prior versions. As a result, Plaintiffs require more time to review
            it and propose any edits.

     • ZHP’s motion to clarify the admissibility of Dr. Afnan’s opinions and
       Plaintiffs’ cross motions to exclude his opinions (Ex. 4 hereto)

          o At this time, the Parties have not reached agreement on how to word
            the exclusion of Dr. Afnan’s opinions based on Dr. Xue’s excluded
            opinions.
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     • Plaintiffs’ motions to exclude Dr. Stiroh and Dr. Gibson (Ex. 5 hereto)

           o Plaintiffs are waiting to hear if Defendants agree that the Court has
             reserved on the Medicare Part D issue.

        Plaintiffs stand ready to further discuss the current disputes over the next

  several days with the defense in the hope that the disputes can be further narrowed.

     6. CMO 38 Product ID Deficiencies.

        Plaintiffs will be prepared to discuss these at the CMC.

     7. PFS Deficiencies.

        Plaintiffs will also be ready to address these at the CMC.

                                  Respectfully,


                                  ADAM M. SLATER

  Cc: All counsel of record (via ECF)
